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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

    UNITED STATES OF AMERICA
                                                  No. 18 CR 339
                v.
                                                  Judge John Robert Blakey
    JAMES D. WILLIAMS

            GOVERNMENT’S SUPPLEMENTAL MOTION IN LIMINE

        The government respectfully submits the following supplemental motion in

limine pursuant Federal Rule of Evidence 801(d)(2)(E) to admit against Williams co-

conspirator statements made by Alexis Handelman and Jessica Sweeney Williams

(“Sweeney”).1




1The government filed its original motions in limine on June 10, 2019, on which the Court
ruled on September 9, 2019. (Dkt Nos. 91, 110.)

The government has conferred with counsel for Williams concerning the instant motion in
limine, who have represented that Williams: (1) opposes the introduction of Sweeney’s
statements; and (2) does not oppose the introduction of Handelman’s statements, so long as
she testifies at trial. The government intends to call Handelman at trial but, even if she does
not testify, for the reasons discussed below, her statements are admissible against Williams
as coconspirator statements.

Counsel for Williams have again (see dkt. no. 91 at 3) represented to the government that
Williams does not object to the following motions in limine: (1) to admit evidence of Williams’
prior felony convictions within the last 10 years, should Williams testify; (2) to prohibit
discovery requests or commentary concerning discovery in the presence of the jury; (3) to
preclude argument defining reasonable doubt; and (4) to preclude arguments or evidence
intended to elicit jury nullification, including evidence or argument related to Williams’
potential punishment, except that Williams may question Handelman concerning the fact
that she was not charged with a violation of Title 18, United States Code, Section 924(c) and
the ramifications thereof. Based on defense counsels’ representations, the government has
not included these motions in limine within this filing.
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I.      BACKGROUND

        A.    Third Superseding Indictment

        The third superseding indictment (Dkt. No. 124) charges Williams with:

        (1) Conspiring with Handelman to rob three banks in the Northern District of

Illinois, in violation of Title 18, United States Code, Section 371 (Count One);

        (2) Robbing the Old Second National Bank, the Norstates Bank, and the

Aurora Bank & Trust, in violation of Title 18, United States Code, Section 2113(a)

(Counts Two, Four, and Six);

        (3) Using an AK-47 style rifle during the Old Second National Bank and

Norstates Bank robberies, in violation of Title 18, United States Code, Section 924(c)

(Counts Three and Five);

        (4) Discharging a .45 caliber pistol during the Aurora Bank & Trust robbery,

in violation of Title 18, United States Code, Section 924(c) (Count Seven);

        (5) Possessing a .45 caliber pistol after sustaining a conviction for an offense

punishable by more than one year in prison, in violation of Title 18, United States

Code, Section 922(g) (Count Eight); and

        (6) Conspiring with Sweeney to dispose of a firearm and ammunition to a

person who had been convicted of a crime punishable by a term of imprisonment

exceeding one year, in violation of Title 18, United States Code, Section 371 (Count

Nine).2


2 The third superseding indictment also charges Sweeney with: (1) conspiring with Williams
to dispose of firearms to a convicted felon (Count Nine); and (2) disposing of an AK-47 style
rifle (Count Ten), rifle ammunition (Count Eleven), and a .45 caliber pistol (Count Twelve)
to Williams, who is a felon, in violation of Title 18, United States Code, Section 922(d)(1).
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       B.     Factual Background

       On February 22, 2018, Sweeney purchased a 7.62 x 39 caliber Zastava NPAP

M40 rifle at the Gun Doctor, located in Roselle, Illinois. Williams accompanied her to

the store to purchase the gun. Two days later, on February 24, 2018, Sweeney picked

the AK-47 style rifle up from the gun store and, two days later, Williams took the

below photograph of himself holding the rifle, which law enforcement found on his

cellphone.3




3Images of Williams, in which his face is visible, wearing the exact same outfit as shown
above were also recovered on Williams’ cellphone. An example of such an image is below.




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         On May 1, 2018, Williams sent Sweeney a text message stating, “But I do need

you to go back to Walmart and grab the right shells. 7.62 by 39. They are cheaper but

I will give you this other box.” Sweeney responded to Williams via text message, “Im

thinking we need to invest in something a bit smaller,” to which Williams stated,

“Yes. Go get that box tho before it gets too late.” Approximately two hours later,

Sweeney purchased Winchester 7.62 x 39 mm ammunition at a Walmart located in

Streamwood, Illinois.

         On May 8, 2018, while at Sweeney’s house, Williams sent her a text message

stating, “Can I get a bean [gun] please? I’m about to move around.” Sweeney

responded, “Long as you promise to come see me later” and instructed Williams to

look in the “Top drawer.” Williams, thereafter, sent a text message to Sweeney

stating, “I need to hit a bank.” Sweeney responded, “Ok. Or notttttt. It ain’t NEVER

that serious. I need you to put the toy [gun] back. Please.” A few minutes later,

Sweeney texted Williams, “Btw [By the way]. They wont take the ammo

[ammunition] back. Sed [Said] its final sale. Live ammo [ammunition].”

         Between May 11 and May 31, 2018, Williams and Handelman robbed three

banks in the Northern District of Illinois.4 During each robbery, Williams carried the

AK-47 style rifle he had obtained from Sweeney. On May 11, 2018, Williams and

Handelman robbed the Old Second National Bank located in Ottawa, Illinois (the

“Ottawa bank robbery”). Minutes before the robbery, Williams purchased latex gloves

from an auto parts store down the street from the bank, at which store he left his


4   On May 22, 2019, Handelman pleaded guilty to conspiring to commit bank robbery with
Williams and robbing the three banks. (Dkt. Nos. 79, 80.)

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fingerprint on a box of gloves. During the robbery, Williams pointed the loaded AK-

47 style rifle at the tellers inside the bank. In the days following the robbery, Williams

deposited $2,600 in cash into his bank account and rented a blue Nissan Rogue from

Enterprise Rent-A-Car.

      On May 21, 2018, Williams and Handelman robbed the Norstates Bank located

in Gurnee, Illinois (the “Gurnee bank robbery”). Williams and Handelman drove to

and from the bank in the rented Nissan Rogue. In preparation for the robbery,

Williams replaced the rental car’s license plates with license plates stolen from two

different vehicles that were parked a short distance from the bank. Video surveillance

from a local business captured Williams and his blue rental car in the area where the

license plates were stolen. During the robbery, Williams used the AK-47 style rifle

obtained from Sweeney to order tellers and others around the bank. Following the

robbery, Williams deposited approximately $1,300 in cash into his bank account. On

May 22, 2018, Williams returned the blue Nissan Rogue to the rental car company,

replacing it with a black Ford Fusion.

      A day after Williams robbed the Norstates bank, Williams accompanied

Sweeney to Gat Guns where she purchased, with approximately $800 in cash, two

pistols. Williams, thereafter, returned to the gun store with Sweeney on May 27,

2018, at which time they picked up the two guns Sweeney had purchased and they

test fired them at a shooting range. A few days later, on May 31, 2018, Williams and

Handelman robbed the Aurora Bank & Trust located in Aurora, Illinois (the “Aurora

bank robbery”). Williams and Handelman used the rented Ford Fusion to get to and



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from the robbery. During the robbery, Williams once again brandished the AK-47

style rifle he obtained from Sweeney. Williams also carried one of the pistols Sweeney

had purchased on May 22, holding the gun to a bank teller’s head and firing it into

the ceiling of the bank. Williams deposited approximately $1,050 in cash into his bank

account a few hours after the Aurora robbery.

      Williams was arrested the evening of the Aurora bank robbery as he returned

the rented black Ford Fusion to Enterprise Rent-A-Car. At the time of his arrest,

Williams was in possession of nearly $8,900 in cash. While searching Williams’ motel

room following his arrest, law enforcement found a gun case containing a .45 caliber

cartridge case that had been fired by the .45 caliber pistol purchased by Sweeney on

May 22, 2018. The markings on the cartridge case match the markings on the fired

.45 cartridge case recovered from the Aurora bank following the robbery. At the time

of his arrest, law enforcement also recovered Williams’ cellular telephone, which he

used to communicate with Sweeney about the firearms and ammunition she gave

him. Williams’ cellular telephone also contained photographs related to the firearms

and robberies, including the above photograph of Williams holding the AK-47 style

rifle and the below photograph, taken shortly after the Ottawa bank robbery, of a

table covered in stacks of cash.




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         Following Williams’ arrest, Handelman traveled to her brother’s home with

the remaining money from the Aurora bank robbery. While at her brother’s house,

Handelman told her brother that she and Williams had robbed a bank, that Williams

had been arrested, showed him the bank robbery money, and asked for his help in

avoiding law enforcement. Before leaving, Handelman gave her brother $20,000 in

bank robbery proceeds; $10,000 of which the government subsequently recovered.

         After leaving her brother’s house, Handelman subsequently traveled to

Williams’ uncle’s home. Handelman gave Williams’ uncle the majority of the bank

robbery proceeds for safekeeping, who took possession of the majority of the bank

robbery proceeds and later transported Handelman to his daughter’s house in

Normal, Illinois, where she stayed for at least one night.

II.      ARGUMENT

         The government seeks to admit, under Rules 104(a) and 801(d)(2)(E) and

United States v. Santiago, 582 F.2d 1128 (7th Cir. 1978), the following co-conspirator

statements against Williams at trial: 5


5 The coconspirator statement rule does not apply when a statement is not being offered for
the truth of the matter asserted, and thus does not constitute “hearsay” as defined by
Rule 801(c). Accordingly, statements by alleged co-conspirators may be admitted against a
defendant, without establishing the Bourjaily v. United States, 483 U.S. 171, 176-81 (1987)
factual predicates set forth above, when such statements are offered to show, for instance,
the existence, the illegality, or the nature or scope of the charged conspiracy. See United
States v. Guyton, 36 F.3d 655, 658 (7th Cir. 1994) (statement that the defendant was out of
cocaine was not hearsay because it was not offered for its truth but as evidence of membership
in conspiracy); United States v. Herrera-Medina, 853 F.2d 564, 565-66 (7th Cir. 1988) (“war
stories” about the drug trade were not offered for the truth); United States v. Van Daal Wyk,
840 F.2d 494, 497-98 (7th Cir. 1988) (statements had non-hearsay value in establishing
knowledge of and membership in conspiracy); United States v. Tuchow, 768 F.2d 855, 867-69
(7th Cir. 1985) (pre-conspiracy statements admissible to set forth scope of the anticipated
conspiratorial scheme).


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       (1)    Sweeney’s statements to employees at the Gun Doctor, including that

she wanted to purchase the AK-47 style rifle for home protection and that Williams

was her husband;

       (2)    Sweeney’s statements to Williams, made via text message on May 1

and May 8, 2018, as follows:6

                                        May 1, 2018
                                    8:26 p.m. - 8:52 p.m.

Williams:7            But I do need you to go back to Walmart and grab the right shells
                      before I take that trip

Williams:             7.62 by 39

Williams:             They are cheaper but I will give you this other box


6 The marital confidential communications privilege does not apply to the instant
communications because the statements were made in furtherance of a joint criminal
enterprise. See United States v. Darif, 446 F.3d 701, 706 (7th Cir. 2006) (“We have recognized
an exception to the privilege when spouses are joint participants in the underlying offense.
We do not value criminal collusion between spouses, so any confidential statements made
concerning a joint criminal enterprise are not protected by the privilege.”)

In addition, although still legally married at the time of the communications, Williams and
Sweeney were permanently separated, thereby rendering the marital privilege inapplicable.
See, e.g., United States v. Fulk, 816 F.2d 1202 (7th Cir. 1987) (exception to confidential
marital communication privilege exists where couple is permanently separated at time of
communication); see also United States v. Byrd, 750 F.2d 586, 590 (7th Cir. 1985) (“We refuse
to extend the communications privilege to permanently separated couples on the theory that
a guaranteed protection of confidentiality at this stage might save some troubled marriages.
We, too, therefore, strictly interpret that portion of the privilege's requirement and hold that
only communications that take place during a valid marriage between couples still cohabiting
pursuant to that marriage are protected by the privilege.”). At the time the instant
communications were exchanged, Williams and Sweeney had been living apart for more than
a year (in May 2018, Sweeney told law enforcement that she and Williams had been
separated since May 2017 and that Williams had never lived at her current residence),
Williams was living with Handelman and had been dating Handelman for at least two years,
and Williams identified Sweeney as his ex-wife, including on the records Williams filled out
when renting the cars at issue in this case.

7Williams’ statements during these communications are, of course, admissible as admissions
of a party-opponent. Fed. R. Evid. 801(d)(2)(A).
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                                       ***

Sweeney:          Im thinking we need to invest in something a bit smaller.

Williams:         Yes. Go get that box tho before it gets too late



                                   May 8, 2018
                               7:17 p.m. - 7:57 p.m.

Williams:         Im laying in ur bed for a minute. I just needed a sec [second]. To
                  be alone

Sweeney:          Ok bae

Williams:         Can I get a bean [gun] please? I’m about to move around

Sweeney:          Long as you promise to come see me later.

Sweeney:          You need some mommy hugs n love

Williams:         Ok bae. Where should I look

Sweeney:          Top drawer

Williams:         I need to hit [rob] a bank

Sweeney:          Ok

Sweeney:          Or nottttt

Sweeney:          It ain’t NEVER that serious

Sweeney:          I need you to put the toy [gun] back. Please

Sweeney:          Hey

Sweeney:          Don’t ignore me!!

Williams:         What’s up

Sweeney:          You ok?



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Williams:            Hell no! I will be though

Sweeney:             Its goin to be ok.

Sweeney:             Btw [By the way]. They wont take the ammo [ammunition] back.
                     Sed [said] its final sale. Live ammo [ammunition].

      (3)      Handelman’s statements to Williams (made in-person) between May 10

and May 31, 2018, including:

      •     Handelman’s statement to Williams before the Ottawa bank robbery that

            they (Williams and Handelman) should turn their cellular telephones off to

            avoid law enforcement detection; and

      •     Handelman’s statements to Williams while they were looking for an

            individual to carjack prior to the Gurnee bank robbery, including that

            Handelman was too drunk to participate in the carjacking and that it was

            too light outside for Williams to continue with his plan to carjack someone,

            and that they should steal licenses plates to use on their rental car during

            the bank robbery, instead of carjacking someone.

      (4)      Handelman’s statements to her brother following the Aurora bank

robbery while at her brother’s house, including:

      •     Handelman’s statement that she and Williams had robbed the Aurora

            bank;

      •     Handelman’s statement that Williams had been arrested; and

      •     Handelman’s statement that she had money from the bank robbery in her

            backpack.




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        (5)      Handelman’s statements to Williams’ uncle and Williams’ uncle’s

daughter—who both assisted her in avoiding law enforcement following the Aurora

bank robbery—including:

        •     Handelman’s statements to Williams’ uncle concerning the bank robberies;

        •     Handelman’s statements to Williams’ uncle concerning the bank robbery

              money that was in her possession; and

        •     Handelman’s statements to Williams’ uncle about Williams having been

              arrested.

        A.       Governing Law

        Rule 801(d)(2)(E) provides that a “statement” is not hearsay if it “is offered

against a party” and is “a statement by a co-conspirator of a party during the course

and in furtherance of the conspiracy.” Admission of such co-conspirator statements

against a defendant is proper where the government establishes by a preponderance

of the evidence that: (1) a conspiracy exited; (2) Williams and the declarant were

members of the conspiracy; and (3) the statements were made during the course and

in furtherance of the conspiracy. United States v. Cruz-Rea, 626 F.3d 929, 937 (7th

Cir. 2010). 8 Under Santiago, the trial court must preliminarily determine whether

statements by a co-conspirator of the defendant will be admissible at trial under

Rule 801(d)(2)(E). In making this determination, the judge must decide “if it is more


8 No Sixth Amendment confrontation issues are posed by the use of a non-testifying co-
conspirator’s statements, offered for their truth against a defendant, as such statements are
not testimonial. United States v. Nicksion, 628 F.3d 368, 374 (7th Cir. 2010) (citing Davis v.
Washington, 547 U.S. 813, 823-24 (2006) and Crawford v. Washington, 541 US. 36 (2004));
see also United States v. Hargrove, 508 F.3d 445, 448-49 (7th Cir. 2007) (co-conspirator
statements are neither hearsay nor testimonial).
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likely than not that the declarant and the defendant were members of a conspiracy

when the hearsay statement was made, and that the statement was in furtherance

of the conspiracy . . . .” Santiago, 582 F.2d at 1143 (internal quotations omitted); see

also United States v. Hoover, 246 F.3d 1054, 1060 (7th Cir. 2001). If the court

determines that the statements are admissible, the jury/court may consider them for

any purpose. United States v. Thompson, 944 F.2d 1331, 1345 (7th Cir. 1991).

                    Existence of and Membership in Conspiracy

         In making the initial admissibility determination under the Santiago criteria,

a court can consider the statements in question (those to be admitted). See Bourjaily,

483 U.S. at 176-81. While a court may consider the proffered statements themselves

as evidence of both the existence of a conspiracy and a defendant’s participation in it,

the contents of the proffered statements alone are not sufficient to establish the

existence of a conspiracy and a defendant’s participation. See id. at 178, 180; see also

United States v. Harris, 585 F.3d 394, 398-99 (7th Cir. 2009). Instead, there must also

be some supporting evidence or facts corroborating the existence of the conspiracy

and the defendant’s participation in the conspiracy. See Harris, 585 F.3d at 398-99.

The evidence showing the existence of a conspiracy and the defendant’s membership

in it may be either direct or circumstantial. See United States v. Johnson, 592 F.3d

749, 754-755 (7th Cir. 2010); United States v. Irorere, 228 F.3d 816, 823 (7th Cir.

2000).

         There is no requirement, for admissibility under Rule 801(d)(2)(E), that the

government establish all elements of a conspiracy charge, such as a meeting of the



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minds and an overt act. United States v. Coe, 781 F.2d 830, 835 (7th Cir. 1983). The

government need only establish the existence of a joint venture for an illegal purpose

and participation in the joint venture by the defendant and the maker of the

statement at issue, as well as that the statement was in furtherance of the venture.

“[I]t makes no difference whether the declarant or any other “partner in crime” could

actually be tried, convicted and punished for the crime of conspiracy.” United States

v. Gil, 604 F.2d 546, 549-50; see also Coe, 718 F.2d at 835.

      Although, as discussed above, there is a distinction between conspiracy law

and admissibility under Rule 801(d)(2)(E), certain principles of general conspiracy

law are relevant to the Rule 801(d)(2)(E) inquiries. For instance, “[a] conspiracy may

exist even if a conspirator does not agree to commit or facilitate each and every part

of the substantive offense.” Salinas v. United States, 522 U.S. 52, 63 (1997); see also

United States v. Longstreet, 567 F.3d 911, 919 (7th Cir. 2009); United States v. Jones,

275 F.3d 648, 652 (7th Cir. 2001). The government need not prove that a defendant

knew each and every detail of the conspiracy or played more than a minor role in the

conspiracy. United States v. Curtis, 324 F.3d 501, 506 (7th Cir. 2003). Further, a

defendant joins a criminal conspiracy if he agrees with another person to one or more

of the common objectives of the conspiracy; it is immaterial whether the defendant

knows, has met, or has agreed with every co-conspirator or schemer. Longstreet, 567

F.3d at 919; United States v. Jones, 275 F.3d 648, 652 (7th Cir. 2001).

      Finally, the government is neither required to prove the identity of the

declarant nor must the declarant’s identity be confirmed in the statement itself.



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See United States v. Bolivar, 532 F.3d 599, 604-05 (7th Cir. 2008). Rather, the

government need only prove (from the statement, the context and/or other evidence)

that the declarant was in fact a co-conspirator. Id.

                       The “In Furtherance” Requirement

      In determining whether a statement was made “in furtherance” of the

conspiracy, courts evaluate the statement in the context in which it was made and

look for a reasonable basis upon which to conclude that the statement furthered the

conspiracy. See Cruz-Rea, 626 F.3d at 937; United States v. Johnson, 200 F.3d 529,

533 (7th Cir. 2000). Under the reasonable basis standard, a statement may be

susceptible to alternative interpretations and still be “in furtherance” of the

conspiracy. Cruz-Rea, 626 F.3d at 937-38. The “co-conspirator’s statement need not

have been made exclusively, or even primarily, to further the conspiracy” to be

admissible under the co-conspirator exception. Id. at 937 (quotations and citations

omitted).

      “Courts have found a wide range of statements to satisfy the ‘in furtherance’

requirement.” United States v. Cozzo, 2004 WL 1151630, at *2-3 (N.D. Ill. 2004)

(collecting cases). In general, a statement that is “part of the information flow

between conspirators intended to help each perform his role” satisfies the “in

furtherance” requirement. United States v. Alviar, 573 F.3d 526, 545 (7th Cir. 2009)

(quotations and citations omitted). See also United States v. Gajo, 290 F.3d 922, 929

(7th Cir. 2002). These include statements made:




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       a.    to conduct or help to conduct the business of the scheme, United States
v. Cox, 923 F.2d 519, 527 (7th Cir. 1991); see also United States v. Johnson, 200 F.3d
529, 533 (7th Cir. 2000);
      b.     to identify other members of the conspiracy and their roles, Alviar, 573
F.3d at 545;
      c.     to plan or to review a co-conspirator’s exploits, United States v. Molt, 772
F.2d 366, 369 (7th Cir. 1985);
      d.    as an assurance that a co-conspirator can be trusted to perform his role,
United States v. Sophie, 900 F.2d 1064, 1073-74 (7th Cir. 1990); see also United States
v. Bustamante, 493 F.3d 879, 890-91 (7th Cir. 2007);
       e.    to inform and update others about the current status of the conspiracy
or a conspiracy’s progress (including failures), United States v. Rea, 621 F.3d 595, 605
(7th Cir. 2010); Alviar, 573 F.3d at 545;
      f.     to control damage to an ongoing conspiracy, United States v. Johnson,
200 F.3d 529, 533 (7th Cir. 2000); United States v. Molinaro, 877 F.2d 1341, 1343-44
(7th Cir. 1989); United States v. Van Daal Wyk, 840 F.2d 494, 499 (7th Cir. 1988);
       g.     to conceal a conspiracy where ongoing concealment is a purpose of the
conspiracy, Gajo, 290 F.3d at 928-29; United States v. Kaden, 819 F.2d 813, 820 (7th
Cir. 1987); see also United States v. Maloney, 71 F.3d 645, 659-60 (7th Cir. 1995);

       h.  to reassure or calm the listener regarding the progress or stability of the
scheme, Sophie, 900 F.2d at 1073; Garlington v. O’Leary, 879 F.2d 277, 284 (7th Cir.
1989);
       i.    to report conspirators’ status and in turn receive assurances of
assistance from co-conspirators, United States v. Prieto, 549 F.3d 513 (7th Cir. 2008);
      j.    to “describe[e] the purpose, method or criminality of the conspiracy,”
United States v. Ashman, 979 F.2d 469, 489 (7th Cir. 1992); and
      k.    to attempt to recruit new members into the conspiracy. United States v.
Cruz-Rea, 626 F.3d 929, 937 (7th Cir. 2010).

      Finally, it has long been the rule that any statement made by a conspirator

during and in furtherance of a conspiracy is admissible against all co-conspirators.

Beeson v. United States, 90 F.2d 720 (7th Cir. 1937); United States v. Lindemann, 85

F.3d 1232, 1238 (7th Cir. 1996); see also United States v. Rivera, 136 Fed. App’x 925,



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926 (7th Cir. 2005) (“Whether any other conspirator heard (or, in this instance, saw)

that statement is irrelevant; agency, not knowledge, is the theory of admissibility.”).

      B.     Evidence of the Existence of the Conspiracies and Williams’,
             Handelman’s, and Sweeney’s Participation in the Conspiracies

      As charged in the third superseding indictment, Williams participated in two

conspiracies—one with Handelman and one with Sweeney. Williams both conspired

with Sweeney to dispose of a firearm and ammunition to a convicted felon and

conspired with Handelman to commit armed bank robbery. The government’s

evidence establishing these conspiracies is extensive. Among other things, the

government anticipates presenting the following evidence at Williams’ trial:

      •      Testimony from Handelman that she robbed the Old Second National

Bank, the Norstates Bank, and the Aurora Bank & Trust with Williams in May 2018.

      •      Video surveillance from the robberies reflecting that: (a) a male and

female duo—who were wearing face and head coverings, as well as gloves—robbed

each bank; (2) the male robber carried an AK-47 style rifle in each robbery; (3) a blue

Nissan Rogue was used by the robbers in the Gurnee bank robbery; (4) a black Ford

Fusion was used by the robbers in the Aurora bank robbery; and (5) in addition to an

AK-47 style rifle, the male robber also used a handgun, which he discharged, during

the Aurora bank robbery.

      •      Testimony from an employee of a gun store called the Gun Doctor that:

(a) Sweeney purchased an AK-47 style rifle on February 22, 2018, that she picked up

from the store on February 24, 2018; (b) the AK-47 style rifle used in each of the

robberies is consistent with the rifle Sweeney purchased; (c) when Sweeney

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purchased the AK-47 style rifle, she was accompanied by an African American male,

who the employee understood was her husband; and (d) the rifle Sweeney purchased

used 7.62 x 39 ammunition.

      •      Records from Sweeney’s bank and Walmart reflecting that Sweeney

purchased 7.62 x 39 ammunition on May 1, 2018.

      •      Testimony from an employee of an auto-parts store—located down the

street from the Ottawa bank—that, on May 11, 2018: (a) an African American male

came into the auto-parts store and purchased two pairs of latex gloves; (b) a receipt

from the purchase reflects that the transaction occurred approximately 11 minutes

prior to the Ottawa bank robbery; (c) while inside the store, the man picked up a box

of gloves that he later returned to the shelf; and (d) she recognizes the man inside the

store that day as Williams.

      •       Testimony from an FBI fingerprint examiner that she recovered a

latent fingerprint from the box of gloves in the auto-parts store, which she has

identified as belonging to Williams.

      •      Images from Williams’ cellular telephone depicting: (a) Williams holding

an AK-47 style rifle on February 26, 2018 (two days after Sweeney picked the rifle up

from the gun store); and (b) stacks of cash, some of which are wrapped in colored bank

bands, on a table, taken approximately three and a half hours after the Ottawa bank

robbery.

      •      Testimony from a bank teller at Old Second National Bank that, based

on the numbering on the colored bank bands, she recognizes some of the stacks of



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cash depicted in the image contained on Williams’ phone as having come from one of

her colleague’s teller drawers.

      •      Testimony from an Enterprise Rent-A-Car employee that: (a) on May 15,

2018, Williams rented a blue Nissan Rogue, which he returned on May 22, 2018 (the

day after the Norstates bank robbery); and (b) on May 22, 2018, Williams rented a

black Ford Fusion, which he returned on May 31, 2018, several hours after the Aurora

bank robbery.

      •      Testimony from an employee of a gun store called Gat Guns that:

(a) Sweeney purchased two handguns, including a .45 caliber pistol, on May 22, 2018,

paying approximately $800 in cash; and (b) Sweeney picked the two handguns up

from the gun store on May 27, 2018, at which time she and Williams signed into a

gun range connected to the gun store.

      •      Video surveillance from Gat Guns reflecting that Williams was with

Sweeney at the time she purchased the two handguns on May 22, 2018.

      •      Testimony from law enforcement that: (a) a .45 caliber fired cartridge

case was recovered from inside the bank following the Aurora bank robbery;

(b) Williams was arrested on May 31, 2018 returning a black Ford Fusion to

Enterprise Rent-A-Car; (c) at the time of Williams’ arrest, he had approximately

$8,900 in cash on him; (d) during a search of the hotel room where Williams was

living, law enforcement recovered a gun case containing an envelope labeled with the

serial number for the .45 caliber pistol Sweeney picked up from Gat Guns on May 27,

2018; and (e) the envelope contained a fired .45 caliber cartridge case.



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      •      Testimony from an FBI physical scientist that the .45 caliber pistol

purchased by Sweeney on May 22, 2018 fired both the .45 caliber cartridge case

recovered from the Aurora bank following the robbery and the .45 caliber cartridge

case recovered from Williams’ hotel room.

      •      Records and video surveillance from TCF Bank reflecting that, following

each bank robbery, Williams deposited large sums of cash into his bank account.

      •      Text messages from Williams’ cellular telephone, including the May 1

and May 8, 2018 text message communications between Sweeney and Williams

discussed above and the following text message communication:

                                   April 30, 2018
                                9:37 p.m. – 9:44 p.m.

Sweeney:            You put me out the car to go play with my toy [gun] ur bogus as
                    hell. That bitch [Handelman] better not touch her!!!!!

Williams:           MY TOY! And I’m not playing with shit! I’m loading up!



      C.     Evidence of the “In Furtherance” Requirement

      The statements discussed above were made in furtherance of the conspiracies.

A statement that is “part of the information flow between conspirators intended to

help each perform his role” satisfies the “in furtherance” requirement. United States

v. Alviar, 573 F.3d 526, 545 (7th Cir. 2009) (quotations and citations omitted). Such

statements include ones that are made to: (1) inform and update others about the

current status of the conspiracy, including failures, Rea, 621 F.3d at 605; (2) control

damage to an ongoing conspiracy, Johnson, 200 F.3d at 533; (3) conceal a conspiracy



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where ongoing concealment is a purpose of the conspiracy, Gajo, 290 F.3d at 928-29;

(4) reassure or calm the listener regarding the progress or stability of the scheme,

Sophie, 900 F.2d at 1073; (5) report conspirators’ status and in turn receive

assurances of assistance from co-conspirators, Prieto, 549 F.3d 513; and (6) review a

co-conspirator’s exploits, Molt, 772 F.2d at 369. “The statement need not have been

made exclusively, or even primarily, to further the conspiracy. Rather, the record

need only contain some reasonable basis for concluding that the statement in

question furthered the conspiracy in some respect.” Johnson, 200 F.3d at 533

(internal quotations and citations omitted).

      Here, Sweeney engaged in communications with employees at the Gun

Doctor—while accompanied by Williams—to acquire the AK-47 style rifle, which was

later transferred to Williams. See, e.g., Cox, 923 F.2d 519 at 527 (hearsay statements

admissible where they furthered the goals/business of the conspiracy); Johnson, 200

F.3d at 533 (same). Sweeney’s statements to Williams during their text message

communications on May 1 and May 8, 2018 concerning the purchase of ammunition

for the rifle and the acquisition of a smaller gun and directing Williams to the location

of a firearm, likewise, furthered the goals of the conspiracy—transferring firearms

and firearm ammunition to Williams, a convicted felon. See, e.g., Molt, 772 F.2d at

368-69 (affirming admissibility of co-conspirator statements related to drug

smuggling plans); see also Rea, 621 F.3d at 605 (affirming admissibility of co-

conspirator statements that were made during ordinary information flow by and




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among conspirators and served to inform members about the current status of the

conspiracy).

        Similarly, Handelman’s statements to Williams concerning turning off their

cellular telephones prior to the Ottawa bank robbery and seeking to dissuade

Williams from stealing someone’s car prior to the Gurnee bank robbery were also

made for purposes of conducting the business of the conspiracy.9 Indeed, the

government anticipates that Handelman will testify that she suggested to Williams

that they turn their cellular telephones off prior to the Ottawa bank robbery because

she thought it would prevent them from being identified as the robbers. See Gajo, 290

F.3d at 928-29 (affirming admissibility of co-conspirator statements made for

purposes of concealing conspiracy). Handelman’s statements to her brother, Williams’

uncle, and Williams’ uncle’s daughter, likewise, were made in an effort to conceal the

conspiracy and protect the bank robbery proceeds as she fled from law enforcement

following Williams’ arrest. See, e.g., Johnson, 200 F.3d at 533; Maloney, 71 F.3d at

659-60.




9 The Court previously ruled that evidence related to the attempted carjacking was
admissible as direct evidence of the bank robbery conspiracy. (See Dkt. No. 91 at 8-13; see
also Dkt. No. 110.)
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III.   CONCLUSION

       The government respectfully requests that this Court find, based upon this

proffer, that Handelman’s and Sweeney’s co-conspirator statements, as outlined

above, are admissible against Williams pending the introduction of evidence at trial

to support this proffer.

                                      Respectfully submitted,
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